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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF CONNECTICUT


Jerrold Metcoff, et al,                               :
        Plaintiffs,                                   :
                                                      :
       v.                                             :       3:10CV1962      (SRU)
                                                      :
GC Services Limited Partnership,                      :
      Defendant.                                      :

                                             ORDER

       The parties have reported that this action has been settled in full. Rather than continue to

keep the case open on the docket, the Clerk is directed to administratively close the file without

prejudice to reopening on or before April 14, 2011.

       If the parties wish to file a stipulation of dismissal (for approval by the court or simply for

inclusion in the court’s file), they may do so on or before April 14, 2011.

       The dates set forth in this order may be extended for good cause pursuant to a motion filed

in accordance with Local Rule 7.

       So ordered.

       Dated at Bridgeport, Connecticut this 14th day of March 2011.



                                                /s/ Stefan R. Underhill
                                                      Stefan R. Underhill
                                                      United States District Judge
